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                         UNITED STATES DISTRICT COURT
                         EASTERN DISTRICT OF MICHIGAN
                              SOUTHERN DIVISION


 MARK W. DOBRONSKI,                               Case No. 2:22-cv-12039-DPH-JJCG

                        Plaintiff,                Honorable Denise Page Hood
                                                  United States District Judge
 v.
                                                  Honorable Jonathan J.C. Grey
 FAMILY FIRST LIFE, LLC, et al.                   United States Magistrate Judge

                 Defendants.
 ____________________________________________________________________

                  PLAINTIFF’S RESPONSE IN OPPOSITION TO
                DEFENDANT FAMILY FIRST LIFE, LLC’S MOTION
                 TO DISMISS, STAY, OR TRANSFER PURSUANT
                        TO THE FIRST-TO-FILE RULE

           Plaintiff MARK W. DOBRONSKI, appearing in propria persona, hereby

 responds in opposition to Defendant Family First Life, LLC’s Motion to Dismiss,

 Stay, or Transfer Pursuant to the First-to-File-Rule [ECF No. 108], and respectfully

 states:

           1. Plaintiff’s response is timely, as Defendant FFL knowingly submitted a false

 certificate of service to the Court.

           2. Defendant FFL failed to comply with the mandatory “meet and confer”

 requirement of E.D. Mich. LR 7.1(a).

           3. Defendant FFL has attempted to violate the page limit requirement set forth

 at E.D. Mich. LR 7.1(d), and has not sought leave for same.
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       4. The “first to file” rule is not applicable here as the parties/matters in this

 case are not “substantially similar” to the case being referred to by FFL in the

 Southern District of Florida.

       5. Transferring or staying this case would serve no purpose – other than delay

 – as the case in the Southern District of Florida is at end.

       WHEREFORE, for the reasons set forth herein and in the appurtenant brief,

 Plaintiff respectfully urges that the Court should either strike or deny Defendant

 FFL’s motion.

                                                Respectfully submitted,



 Date: March 30, 2023                           _______________________________
                                                Mark W. Dobronski
                                                Post Office Box 85547
                                                Westland, Michigan 48185-0547
                                                Telephone: (734) 330-9671
                                                markdobronski@yahoo.com
                                                Plaintiff In Propria Persona
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                    UNITED STATES DISTRICT COURT
                    EASTERN DISTRICT OF MICHIGAN
                         SOUTHERN DIVISION


 MARK W. DOBRONSKI,                       Case No. 2:22-cv-12039-DPH-JJCG

                   Plaintiff,             Honorable Denise Page Hood
                                          United States District Judge
 v.
                                          Honorable Jonathan J.C. Grey
 FAMILY FIRST LIFE, LLC, et al.           United States Magistrate Judge

                 Defendants.
 ____________________________________________________________________




                PLAINTIFF’S BRIEF IN OPPOSITION TO
            DEFENDANT FAMILY FIRST LIFE, LLC’S MOTION
             TO DISMISS, STAY, OR TRANSFER PURSUANT
                    TO THE FIRST-TO-FILE RULE
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                               ISSUES PRESENTED

 1.    Should Defendant and/or its counsel be sanctioned for willfully filing a
       Certificate of Service containing a false certificate as to service of the motion?

             Plaintiff says:             YES.

 2.    Should Defendant’s motion be stricken or denied as a result of Defendant’s
       failure to comply with the mandatory “meet and confer” requirements of E.D.
       Mich. LR 7.1(a)?

             Plaintiff says:             YES.

 3.    Should Defendant’s motion be stricken or denied as a result of
       Defendant’s failure to comply with the page limits requirements of E.D.
       Mich. LR 7.1(d)?

             Plaintiff says:             YES.

 4.    Does the first-to-file rule apply here where the parties and matters are not
       substantially similar?

             Plaintiff says:             NO.

 5.    Should this court dismiss or stay this case pending the outcome of the
       Florida Action where the Florida Action is at end?

             Plaintiff says:             NO.
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                        MOST RELEVANT AUTHORITIES

 AmSouth v. Dale, 386 F.3d 763, 788 (6th Cir. 2004)

 Fraley v. General Motors, LLC, 2019 WL 1399955, at *3 (E.D.Mich., 2019)

 Hefferan v. Ethicon Endo-Surgery Inc., 828 F3d 488, 493 (6th Cir. 2016)

 Runfola & Assocs. v. Spectrum Reporting II, Inc., 88 F.3d 368, 375 (6th Cir. 1996)

 U.S. v. Ramesh, 2009 WL 817549, at *6 (E.D.Mich.,2009)

 Zide Sport Shop of Ohio, Inc. v. Ed Tobergte Assocs., 16 F. App'x 433, 437 (6th Cir.
 2001)

 E.D. Mich. LR 7.1(a)

 E.D. Mich. LR 7.1(d)

 Mich. R. Prof. Conduct 3.7
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 I.    PRELIMINARY PROCEDURAL MATTERS

       Before delving into a response to Defendant Family First Life LLC’s motion,

 there are three preliminary procedural matters which need to be brought to the Court’s

 attention.

       A.     False certificate of service

       On March 10, 2023, Defendant Family First Life LLC (“FFL”) filed Defendant

 Family First Life, LLC’s Motion to Dismiss, Stay, or Transfer Pursuant to the First-

 to-File-Rule [ECF No. 108]. As part of the filing, FFL’s attorney, Marisa Maleck,

 signed a Certificate of Service certifying that on March 10, 2023, a true and correct

 copy of the document was served upon Plaintiff Mark W. Dobronoski (sic) via United

 States Mail. [ECF No. 108, PageID.1402-1404]. In fact, the certification made by

 FFL’s attorney, Marisa Maleck, was false, as FFL did not serve a copy of their motion

 via mail upon Plaintiff on March 10, 2023.

       Attached hereto, at EXHIBIT A, is the Affidavit of Mark W. Dobronski setting

 forth the following significant facts:

       •      Dobronski was vacation with his family from March 8,
              2023 through March 18, 2023. [Exhibit A, ¶ 3].

       •      Upon returning from the vacation, Dobronski reviewed the
              Court’s online docketing system and noted that, on March
              10, 2023, several motions had been filed by various
              defendants in this matter, including two motions by
              Defendant FFL. [Exhibit A, ¶ 4].
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       •     On March 20, 2023, Dobronski retrieved the accumulated
             mail from his post office box, found copies of the motions
             filed by the other defendants, but did not find copies of the
             two motions that had been filed by FFL on March 10,
             2023. [Exhibit A, ¶ 5].

       •     Dobronski reached out to FFL’s attorney, Marisa Maleck,
             by telephone to inform her that he had not received service
             of the two motions. Maleck was very hostile. [Exhibit A,
             ¶ 7].

       •     Maleck responded by email that she had sent the motions
             to Dobronski via United Parcel Service (“UPS”) and had
             proof that the package was delivered to Dobronski on
             March 13, 2023. Maleck attached a UPS tracking log to
             the email. [Exhibit A, ¶ 8].

       •     Dobronski informed Maleck that UPS does not deliver to
             Post Office boxes. [Exhibit A, ¶ 9].

       •     Maleck then changed her story to be that the package
             containing the filings was sent via United States Postal
             Service (“USPS”) on March 13, 2023, and threatened
             Dobronski for “abuse of the judicial process.” [Exhibit A,
             ¶ 10].

       •     Maleck then agreed to send copies of the filings via USPS
             Priority Express Mail. [Exhibit A, ¶ 12].

       •     On March 23, 2023, Dobronski received the filings via USPS
             Priority Express Mail. [Exhibit A, ¶ 13].

       •     On March 24, 2023, Dobronski received the filings at his
             post office box via USPS. The package had a postage
             meter indicia showing a date of March 13, 2023. The
             package weighed 5-1/2 pounds. [Exhibit A, ¶ 14].

       •     According to the USPS web site, 5-1/2 pound package
             from Atlanta, Georgia to Westland, Michigan will take 2-5
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               days to be delivered. [Exhibit A, ¶ 15].

         Given the above facts, it is clear that the subject package was not mailed to

 Dobronski on March 10, 2023, as FFL’s attorney, Marisa Maleck, certified. The

 certificate is belied by: (1) the postage meter indicia on the package showing a date

 of March 13, 2023; and, (2) Marisa Maleck’s own statements that the package was

 mailed: first via United Parcel Service and delivered on March 13, 2023, then

 recanted and changed to be mailed via United States Postal Service on March 13,

 2023.

         The fact finder can also reasonably come to the conclusion that it is more likely

 than not that the package was not mailed on March 13, 2023, but instead was mailed

 somewhere between March 19, 2023 and March 22, 2023 with the postage meter

 indicia being deliberately backdated to show March 13, 2023.

         In any event, one fact is unquestionably clear. FFL’s attorney, Marisa Maleck,

 made a false representation to this Court when she signed the Certificate of Mailing

 certifying that a copy of the motion was mailed to Dobronski on March 10, 2023.

 This was no accident. The Court cannot merely overlook this misconduct, but must

 impose an appropriate sanction to make it clear that such misconduct will not be

 tolerated.

         “Even if there are sanctions available under statutes or specific federal rules of

 procedure, ...the ‘inherent authority’ of the court is an independent basis for
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 sanctioning bad faith conduct in litigation.” Dell, Inc. v. Elles, No. 07-2082, 2008 WL

 4613978, at *2 (6th Cir. June 10, 2008) (citing Chambers v. NASCO, Inc., 501 U.S.

 32, 49-50, 111 S.Ct. 2123, 115 L.Ed.2d 27 (1991)); see also Runfola & Assocs. v.

 Spectrum Reporting II, Inc., 88 F.3d 368, 375 (6th Cir. 1996) (“In addition to Rule

 11 and 28 U.S.C. § 1927, a district court may award sanctions pursuant to its inherent

 powers when bad faith occurs.”).

          Plaintiff submits that an appropriate sanction should be to strike Defendant

 FFL’s motions which were subject to false certificates of service being filed with the

 Court.

                B.     Failure to Comply with E.D. Mich. LR 7.1(a)

          Defendant FFL’s motion fails to include any certification as to compliance with

 E.D. Mich. LR 7.1(a). Rule 7.1(a) promulgates that, before filing a motion:

                “[T]he movant must confer with the other parties and other
                persons entitled to be heard on the motion in good faith and
                in a manner that reasonably explains the basis for the
                motion and allows for an interactive process aimed at
                reaching agreement on the matter or those aspects of the
                matter that can be resolved without court intervention... If
                concurrence is not obtained, the motion or request must
                state... there was a conference between attorneys or
                unrepresented parties and other persons entitled to be heard
                on the motion in which the movant explained the nature of
                the motion or request and its legal basis and requested but
                did not obtain concurrence in the relief sought....” [E.D.
                Mich. LR 7.1(a)].

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  The commentary to LR 7.1 goes on to state:

                “LR 7.1(a) requires that a moving party conduct a
                meaningful and timely conference with other parties to
                explain the nature of the relief sought and the grounds for
                the motion, to seek concurrence, and to narrow the issues.
                The Court's strong preference is for conferences held in a
                manner that facilitates discussion and debate, such as in
                person, by video or by telephone. Sometimes, email
                exchanges may suffice if the motion is rudimentary and
                uncomplicated, or to document conversations. But sending
                an email without engaging the other parties will not
                satisfy this rule.” [Emphasis added.]

         In this instance, Defendant FFL’s attorney, Marisa Maleck, sent an email to

  Plaintiff on March 9, 2023 at 10:18 P.M. The email is attached hereto at EXHIBIT

  B. Defendant FFL filed its two motions on the morning of March 10, 2023. By the

  time that Plaintiff had an opportunity to receive and read the March 9 email, the

  motions had been filed. No attempt was made by Defendant FFL to telephone

  Plaintiff regarding the motions.1

         Clearly, Defendant FFL’s counsel failed to comply with the mandatory

  requirements of LR 7.1(a). FFL made no attempt to contact Dobronski and engage

  in discussion and debate regarding the impending motions. An email sent late in the



         1
           Anticipating that FFL will reply that telephoning Dobronski would have been futile
  because Dobronski was on vacation; Dobronski’s contact telephone number listed in the
  pleadings is his cellular telephone, which is on and with him on an around-the-clock basis.


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  evening, and then filing the motions the next morning, simply do not fulfill the

  mandatory “meet and confer” requirements of E.D. Mich. LR 7.1(a).

        It is not up to the Court to expend its energies when the parties have not

  sufficiently expended their own. Hasbro, Inc. v. Serafino, 168 F.R.D. 99, 101 (D.

  Mass. 1996). Seeking concurrence from the opponent is a mandatory directive of the

  Local Rules of this District; inasmuch as defendant has failed to comply with this

  Local Rule prior to filing this motion, the Court must deny the relief that defendant

  seeks to obtain. U.S. v. Ramesh, 2009 WL 817549, at *6 (E.D.Mich.,2009). The Local

  Rules, as well as the Federal Rules of Civil Procedure, are called “rules,” not

  “suggestions” or “guidelines,” and as Justice (then Judge) Charles Levin stated in

  People v. Farrar, 36 Mich.App. 294, 299 193 N.W.2d 363, 366 (1971), “Unless we

  enforce the rules we encourage their violation....” Bryce v. Commissioner of Social

  Security, 2013 WL 12123666, at *1 (E.D.Mich., 2013).

        For these reasons alone, the Court should strike Defendants’ motion.

               C.    Failure to Comply with E.D. Mich. LR 7.1(d)(3)(A)

        E.D. Mich. LR 7.1(d)(3)(A) is clear:

               “The text of a brief supporting a motion or response,
               including footnotes and signatures, may not exceed 25
               pages. A person seeking to file a longer brief may apply ex
               parte in writing setting forth the reasons.”



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        Defendant FFL has simultaneously filed two motions:

               •     Defendant Family First Life, LLC’s Motion to
                     Dismiss Plaintiff’s Amended Complaint
                     Under FRCP 12(b)(1), 12(b)(6) and 8(a)(2),
                     or in the Alternative, Motion for a More
                     Definite Statement Under FRCP 12(e), and
                     Brief in Support [ECF No. 107]; and,

               •     Defendant Family First Life, LLC’s Motion to
                     Dismiss, Stay, or Transfer Pursuant to the
                     First-to-File Rule [ECF No. 108].

  The former contains a brief consisting of 25 pages and over 150 pages of exhibits.

  The latter contains a brief consisting of 14 pages and over 160 pages of exhibits.

  Instead of filing one motion and seeking leave of court to exceed the pages limits set

  under Rule 7.1(d)(3)(A), FFL has simply broken its motion to dismiss into two

  motions to dismiss. The Court should not reward this abuse of the rules.

        The commentary to Rule 7.1 includes the following admonition:

               “Attempts to circumvent the LR in any way may be
               considered an abusive practice which may result in the
               motion or response being stricken as well as sanctions
               being imposed under LR 11.1.”

  The Court is justified, and should, order that FFL’s motion be stricken. See Fraley

  v. General Motors, LLC, 2019 WL 1399955, at *3 (E.D.Mich., 2019) (striking motion

  for failing to obtain leave to exceed the page limits specified in Local Rule

  7.1(d)(3)(A)).

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  II.   The Motion

        A.     Introduction

        By the motion at bar, Defendant FFL now moves this Court to either outright

  dismiss this lawsuit or, in the alternative and pursuant to the “first-to-file” rule,

  transfer this case to the Southern District of Florida or stay the case until the another

  action in the Southern District of Florida – Family First Life, LLC v. Rutstein, et al.,

  No. 9:22-cv-80243 (S.D. Fla. Filed Feb. 15, 2022) (“Florida Action”).

        Curiously, to support FFL’s motion, FFL incorporates the Declaration of

  Marisa Maleck [ECF No. 108-1, PageID.1405-1411] to provide testimony to support

  facts. Maleck, who is also FFL’s attorney that signed the motion [ECF No. 108,

  PageID.1400] has taken the unusual tact of making herself a witness in this case.

  Maleck has combined herself into two roles: advocate and witness. Combining the

  roles of advocate and witness can prejudice the opposing party and can involve a

  conflict of interest between the lawyer and client. Mich. R. Prof. Conduct 3.7.

  Plaintiff certainly objects to Maleck’s dual role. The Court should disqualify Maleck

  from appearing before this Court as FFL’s attorney.

        The Florida Action was filed by FFL one year ago against a David Rutstein and

  his business entity seeking injunction relief from “their campaign of unlawful and

  unfair competition, tortious interference, harassment, and disparagement against FFL

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  and its independent insurance agents.” [ECF No. 108-3, PageID.1414].

           The instant case in this district was filed by Dobronski in August 2022 against

  FFL and several of its agents and insurance providers for violations of the Telephone

  Consumer Protection Act and related state statutes relative to illegal telemarketing

  calls.

           The Florida Action has no relation to the instant case in this district. The only

  common element between the Florida Action and the instant case is that FFL is the

  plaintiff in the Florida Action, and FFL is one of several defendants in the instant

  case.

           FFL attempts to tie Dobronski into the Florida Action by arguing that David

  Rutstein – is “[Dobronski’s] associate” [ECF No. 108, PageID.1388] or that

  Dobronski must somehow be affiliated with Rutstein. There is no truth to those

  claims and FFL knows so. Indeed, in October 2022, FFL’s attorney, Maleck, wrote

  to Dobronski urging Dobronski to “disassociate” himself from Rutstein. Dobronski

  responded to Maleck clearly informing her “I do not have, nor have I ever had, any

  association with David Rutstein and/or NAAIP.” See letter from Dobronski to

  Maleck dated October 31, 2022 attached hereto at EXHIBIT C.

           B.    Argument

           The first-to-file rule “provides that when actions involving nearly identical

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  parties and issues have been filed in two different district courts, ‘the court in which

  the first suit was filed should generally proceed to judgment.’ ” Zide Sport Shop of

  Ohio, Inc. v. Ed Tobergte Assocs., 16 F. App'x 433, 437 (6th Cir. 2001) (citing In re

  Burley, 738 F.2d 981, 988 (9th Cir. 1984)). The rule is not mandatory and district

  courts have the discretion to abandon it where equity so demands. Id. Factors that

  weigh against enforcement of the first-to-file rule are (1) extraordinary circumstances,

  (2) inequitable conduct, (3) bad faith, (4) anticipatory suits, and (5) forum shopping.

  Id. at 437.

                1.    The Parties/Matters are not substantially similar

        As has been discussed, supra, other than FFL is the Plaintiff in the Florida

  Action and is one of several defendants in the instant case, there is no similarity.

  Rutstein, in the Florida Action, is being accused by FFL of being a competitor to and

  misappropriating business from FFL. In the instant case, FFL and its agents and

  insurance providers are accused of initiating illegal telemarketing calls to Dobronski.

  Neither the parties nor the issues in the two lawsuits are similar.

        FFL curiously argues that because FFL issued a non-party subpoena upon

  Dobronski in the Florida Action, and Dobronski filed objections to same, this

  somehow makes Dobronski a party to the Florida Action. [ECF No. 108,

  PageID.1392]. FFL misrepresents to the Court that Dobronski “added himself as a

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  ‘nonparty’ respondent to the docket” in the Florida Action. Id. This is not true.

  Dobronski – a nonparty – merely objected to the nonparty subpoena which FFL had

  served upon Dobronski by filing the objections with the Court as he was required to

  do. This does not make Dobronski a party to the Florida Action. Now it becomes

  readily apparent that FFL issued the nonparty subpoena upon Dobronski in the

  Florida Action merely as a “tactical weapon” to allow FFL to do some forum

  shopping. Generally, courts take a dim view of forum shopping. AmSouth v. Dale,

  386 F.3d 763, 788 (6th Cir. 2004).

        In the instant case, the alleged illegal telemarketing calls were received in

  Michigan; venue is appropriate in Michigan. Courts in TCPA cases have consistently

  found venue to be proper where the call was received. See Schlesinger v. Collins, No.

  19-CV-03483-EMC, 2019 WL 4674396, at *3 (N.D. Cal. Sept. 25, 2019); Schick v.

  Resolute Bank, No. CV-19-02218-PHC-DLR, 2019 WL 8014435, at *1 (D. Ariz.

  Nov. 13 2019); Sapan v. Dynamic Network Factory, Inc., No. 13-CV-1966-MMA

  (WVG), 2013 WL 12094829, at *3 (S.D. Cal. Nov. 25, 2013). When a domestic

  plaintiff initiates a suit in his home forum, that choice is normally entitled great

  deference because it is presumptively convenient for the plaintiff. Hefferan v. Ethicon

  Endo-Surgery Inc., 828 F3d 488, 493 (6th Cir. 2016).

               2.     The Florida Action is at end

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         FFL conveniently fails to inform this Court that the Florida Action is at end.

  The Florida Action court has found Rutstein to be in default and has ordered FFL to

  file a motion for default judgment against Rutstein so that the Court can bring closure

  to that case. [ECF No. 108-15, PageID.1571, Docket Entry No. 179]. Accordingly,

  transferring or staying this case would accomplish nothing except cause delay.

  III.   CONCLUSION

         For all of the foregoing reasons, the Court should either strike or deny

  Defendant FFL’s motion.

                                                 Respectfully submitted,



  Date: March 30, 2023                           _______________________________
                                                 Mark W. Dobronski
                                                 Post Office Box 85547
                                                 Westland, Michigan 48185-0547
                                                 Telephone: (734) 330-9671
                                                 markdobronski@yahoo.com
                                                 Plaintiff In Propria Persona




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                           CERTIFICATE OF SERVICE

         I, Mark W. Dobronski, certify that on March 30, 2023, I caused a copy of the
  foregoing Plaintiff’s Response in Opposition to Defendant Family First Life, LLC’s
  Motion to Dismiss, Stay, or Transfer Pursuant to the First-to-File-Rule to be served
  upon all parties of record by sending same in a sealed envelope, with first-class
  postage fully prepaid thereupon, and deposited in the United States Mail, addressed
  as follows:

  D. Peter Valiotis, Esq.                      Lewis Jan Friedman
  Clark Hill                                   921 Ormsby Street
  500 Woodward Avenue, Suite 3500              Vista, California 92084-1436
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                                               _______________________________
                                               Mark W. Dobronski

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